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EMANUEL MCCRAY
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June 10, 2023
NOTICE OF IDENTITY THEFT & CIVIL DEMAND

Re: Microsoft Account Unusual Sign-In Activity

MICROSOFT CORPORATION
One Microsoft Way

Redmond, WA 98052-6399
Dear Microsoft Corporation:

On June 10, 2023, the Microsoft account team detected another unusual

sign-in activity involving my Microsoft account. As set forth in my attached

Identity Theft Affidavit, I did not authorize these unusual activities.
Pursuant to federal law, I am requesting that you provide me, at no charge,
copies of all business records in your control relating to the following fraudulent

transactions referenced on your “account activity” web page:

MICROSOFT UNUSUALACTIVITY DETECTED

DATE IP ADDRESS SESSION TYPE LOCATION
06/10/2023 172.107.246.60 Unusual activity detected California
06/10/2023 172.107.246.202 Unusual activity detected California
06/10/2023 172.107.246.60 Unusual activity detected California
06/09/2023 98.214.23.67 Unusual activity detected Illinois
06/09/2023 71:62.250,132 Unsuccessful sign-in West Virginia
06/09/2023 24.112.119.43 Unsuccessful sign-in Georgia
06/08/2023 70.118.132.104 Unsuccessful sign-in Texas
06/08/2023 97.80.182.203 Unsuccessful sign-in Georgia

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06/08/2023 67.184.153.28 Unsuccessful sign-in Illinois
06/08/2023 24.48.138.3 Unsuccessful sign-in Florida
06/08/2023 108.48.64.17 Unsuccessful sign-in D.C./Virginia
06/08/2023 195.213.70.238 Unsuccessful sign-in United Kingdom
06/08/2023 70.50.39.135 Unsuccessful sign-in Canada
06/08/2023 71.138.26.211 Unsuccessful sign-in Texas
06/04/2023 70.188.22.209 Unsuccessful sign-in United States
06/04/2023 86.28.253.107 Unsuccessful sign-in United Kingdom
06/04/2023 67.84.220.168 Unsuccessful sign-in New York
06/04/2023 98.121.22.182 Unsuccessful sign-in North Carolina
06/04/2023 73.59.190.111 Unsuccessful sign-in Tennessee
06/02/2023 24.211.86.61 Unusual activity detected South Carolina
06/01/2023 72.191.128.212 Unsuccessful sign-in Texas
06/01/2023 99.1.194.64 Unsuccessful sign-in Georgia
06/01/2023 98.209.193.119 Unsuccessful sign-in Michigan
06/01/2023 47.230.86.126 Unsuccessful sign-in New York
06/01/2023 69.117.233.236 Unusual activity detected New York
05/3 1/2023 103.113.24,254 Unsuccessful auto-sync Thailand
05/16/2023 170.247.220.208 Unsuccessful sign-in Belize

Please send the information directly to me at the address above. I am not

designating a law enforcement officer to receive the information from you on my
behalf. I understand that my personal information being provided to Microsoft may
be shared with third parties as necessary to produce records and with law
enforcement to aid in investigating the alleged crimes.

Copies of my Washington State COMPROMISED IDENTITY card and
State Driver’s License accompanies the attached Identity Theft Affidavit.

Thank you for your expedited assistance.

Cmnaniwl WeCray,

EMANUEL MCCRAY

